                       Case 19-50972-BLS          Doc 18      Filed 07/01/20        Page 1 of 2

                          UNITED STATES BANKRUPTCY COURT
                                   District of Delaware
                               824 Market Street, 3rd Floor
                                  Wilmington, DE 19801
In Re:                                                     Bankruptcy Case No.: 17−12560−BLS
Woodbridge Group of Companies, LLC
     Debtor                                                Bankruptcy Chapter: 11
__________________________________________

Michael Goldberg

        Plaintiff                                          Adv. Proc. No.: 19−50972−BLS

        vs.

Jacob A. Weiss

        Defendant(s)

                                               ENTRY OF DEFAULT

      It appears from the record that the following defendant(s) failed to plead or otherwise defend in this case as
required by law.

           Defendant's Name: Jacob A. Weiss




        Therefore, default is entered against the defendant(s) as authorized by Federal Rule of Bankruptcy Procedure
7055.




                                                                    Una O'Boyle, Clerk of Court


Date: 6/29/20                                                   By: Sherry J. Stiles, Deputy Clerk




(VAN−431)
                            Case 19-50972-BLS               Doc 18        Filed 07/01/20         Page 2 of 2
                                               United States Bankruptcy Court
                                                   District of Delaware
Goldberg,
              Plaintiff                                                                           Adv. Proc. No. 19-50972-BLS
Weiss,
              Defendant
                                                 CERTIFICATE OF NOTICE
District/off: 0311-1                  User: Sherry                       Page 1 of 1                          Date Rcvd: Jun 29, 2020
                                      Form ID: van431                    Total Noticed: 3


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jul 01, 2020.
aty            +Andrew W Caine,   Pachulski Stang Ziehl & Jones, LLP,   10100 Santa Monica Blvd,
                 Los Angeles, CA 90067,    UNITED STATES 90067-4003

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
ust            +E-mail/Text: USTPRegion03.WL.ECF@USDOJ.GOV Jun 29 2020 22:28:11      U.S. Trustee,
                 Office of the United States Trustee,   J. Caleb Boggs Federal Building,
                 844 King Street, Suite 2207,   Lockbox 35,   Wilmington, DE 19801-3519
ust            +E-mail/Text: USTPRegion03.WL.ECF@USDOJ.GOV Jun 29 2020 22:28:11      U.S. Trustee,
                 Office of United States Trustee,   J. Caleb Boggs Federal Building,
                 844 King Street, Suite 2207,   Lockbox 35,   Wilmington, DE 19801-3519
                                                                                             TOTAL: 2

              ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jul 01, 2020                                            Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on June 29, 2020 at the address(es) listed below:
              Bradford J. Sandler   on behalf of Plaintiff Michael Goldberg bsandler@pszjlaw.com
              Bridget Gallerie    on behalf of Claims Agent   Epiq Class Action & Claims Solutions, Inc.
               Pacerteam@choosegcg.com
              Colin Robinson    on behalf of Plaintiff Michael Goldberg crobinson@pszjlaw.com
              Colin R. Robinson   on behalf of Plaintiff Michael Goldberg crobinson@pszjlaw.com
                                                                                            TOTAL: 4
